
SEE, Justice
(dissenting).
I must respectfully dissent. This Court has held that “[e]vidence that affords nothing more than mere speculation, conjecture, or guess is completely insufficient to warrant the submission of a case to the jury.” Smoyer v. Birmingham Area Chamber of Commerce, 517 So.2d 585, 588 (Ala.1987). Accord Wint v. Alabama Eye &amp; Tissue Bank, 675 So.2d 383, 385 (Ala.1996). The record contains no evidence indicating that English or any other Dover employee bypassed the safety interlock. Thus, Dover and English were entitled to a summary judgment.
HOUSTON and BROWN, JJ., concur.
